         Case 1:11-cv-10044-DPW Document 10 Filed 07/13/11 Page 1 of 2
                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
______________________________________
                                             :
Raymond Carignan,                            :
                                             : Civil Action No.: 1:11-cv-10044-PBS
                                             :
                      Plaintiff,             :
      v.                                     :
                                             :
GC Services, L.P.; and DOES 1-10, inclusive, :
                                             :
                      Defendant.             :
______________________________________ :
                                             :
                                  STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against GC Services, L.P. with prejudice, without costs to any party and

waiving all rights of appeal. .

 Raymond Carignan                              GC Services, L.P.

 ___/s/ Sergei Lemberg__________               ___/s/ Andrew Schneiderman________

 Sergei Lemberg, Esq.                          Andrew Schneiderman, Esq.
 BBO No.: 650671                               BBO No. 666252
 LEMBERG & ASSOCIATES                          Hinshaw & Culbertson LLP
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 Attorney for Plaintiff                        (617) 213-7000
                                               Attorney for Defendant

_____________________________
SO ORDERED
         Case 1:11-cv-10044-DPW Document 10 Filed 07/13/11 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2011, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                     Sergei Lemberg




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